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                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA
                                      Case No.___________
VICTORIA CHARITY WHITE
3558 7th Street NW
Rochester, Minnesota 55901
Plaintiff                                                             Case: 1:24−cv−00018
                                                                      Assigned To : Nichols, Carl J.
v.                                                                    Assign. Date : 1/2/2024
                                                                      Description: Pro Se Gen. Civ. (F−DECK)
JASON BAGSHAW, in his individual capacity
and in his official capacity as a Metropolitan Police Officer
441 4th Street, NW, 7th Fl.
Washington, DC 20001
Defendant

And

NEIL MCALLISTER, in his individual capacity
and in his official capacity as a Metropolitan Police Officer
441 4th Street, NW, 7th Fl.
Washington, DC 20001
Defendant

And

JAMES MICHAEL JOHNSON, in his official capacity
as Speaker of the House
Defendant

                                          COMPLAINT

       1.      On January 6, 2021, Victoria White was standing peacefully near the Capitol

building in Washington, DC.

       2.      Victoria did not harm, threaten, or pose a threat to anyone.

       3.      There was a large crowd of people at the Capitol that day.

       4.      Victoria was caught on video repeatedly trying to prevent individuals from

causing damage to the Capitol. She even stood up to dangerous looking me much larger than her

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                                                                              Court for the District of Columbia
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to protect the Capitol from vandalism. Video evidence is available at this link.

https://rumble.com/vs0kc3-victoria-white-attempts-to-stop-protesters-from-breaking-

window.html

         5.      Victoria was pushed by the crowd into a narrow tunnel that led into the Capitol.

         6.      Victoria became trapped. There was no way for her to move.

         7.      It was obvious to any officer that she was a woman and that she was trapped and

that she had nowhere to go.

         8.      Officer Jason Bagshaw, acting under the color of law, repeatedly and mercilessly

beat Victoria, fist with a stick and then with his bare fists. When he beat her, she was not close

enough to him to harm him, or even reach him. Bagshaw had to stretch his arm over other

officers to beat her repeatedly with his stick. The police had protective equipment and Victoria

was unarmed. Her hands were not in a threatening posture. It was obvious that she needed help.

There was absolutely no rational reason for Bagshaw to brutally beat her the way he did.

Another individual trapped in the tunnel cried out to Bagshaw for mercy, “Please don’t beat her!

Please don’t beat her!” But Bagshaw did not listen and he continued to beat her. Beating Victoria

did not serve any legitimate law enforcement purpose. No reasonable officer would do such a

thing.

         9.      This was objectively unreasonable behavior given the circumstances. Bagshaw

was trying to beat Victoria White to death. The incident can be seen on video here.

https://rumble.com/vrjz6u-enlarged-and-enhanced-victoria-white-beaten-trapped-between-

police.html.
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       10.     Officer Neil McAllister, acting under the color of law, also participated in the

merciless beating of Victoria. There was no rational reason for him to do so. Beating Victoria did

not serve any legitimate law enforcement purpose. No reasonable officer would do such a thing.

       11.     If the Metropolitan Police claim that these actions were objectionably reasonable,

then they are also to blame because it shows that according to their policies, it is objectionably

reasonable to mercilessly beat an unarmed and defenseless woman who does not pose any threat.

       12.     Bagshaw tried to murder Victoria because of her political views.

       13.     This is obvious, because Bagshaw did not use the same vicious brutality against

Black Lives Matter rioters who rioted just months prior to January 6, 2021.

       14.     He hates Donald Trump.

       15.     Therefore, he did not use brutality against Black Lives Matter rioters, but he tried

to murder a helpless woman who he perceived to be a Donald Trump supporter.

       16.     Victoria suffered permanent injuries – both physical and emotional pain and

suffering – from being severely beaten by Bagshaw and McAlister, including multiple strikes to

the head with a stick and with Bagshaw’s bare knuckles. She will never fully recover from her

injuries and will have physical and emotional scars for the rest of her life.

       17.     Discovery will show that other officers also violated her civil rights.

       18.     Speaker of the House Mike Johnson has not conducted an investigation into the

police brutality on January 6, 2021.

                                    REQUEST FOR RELIEF

       Victoria White seeks economic and punitive damages against Jason Bagshaw for

violating her constitutional rights, including but not limited to her constitutional right to be free
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